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 5

 6   Attorney for Plaintiff: CARMEN JOHN PERRI
 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11                                             Case No.
     CARMEN JOHN PERRI, an
12                                             Complaint For Damages And
13   individual,                               Injunctive Relief For:

14                   Plaintiff,                1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     PETER POCSAJI, an individual;
                                                  325).
18   STEVEN JOEL SCWARTZ and
     MELISSA APPELBAUM-
19                                             2. VIOLATIONS OF THE UNRUH
     SCHWARTZ, individually and as
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20   trustees of the APPELBAUM-
                                                  CIVIL CODE § 51 et seq.
     SCHWARTZ FAMILY
21   REVOCABLE TRUST, DATED
22   NOVEMBER 9, 2005; REGINA
     GLICKSMAN YARMARK,
23   individually and as trustee of THE
24   HENRY AND REGINA
     GLICKSMAN YARMARK TRUST
25   A; and DOES 1-10, inclusive,
26

27
                    Defendants.

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                                           COMPLAINT
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 1         Plaintiff, CARMEN JOHN PERRI (“Plaintiff”), complains of Defendants
 2   PETER POCSAJI, an individual; STEVEN JOEL SCWARTZ and MELISSA
 3   APPELBAUM-SCHWARTZ, individually and as trustees of the APPELBAUM-
 4   SCHWARTZ FAMILY REVOCABLE TRUST, DATED NOVEMBER 9, 2005;
 5   REGINA GLICKSMAN YARMARK, individually and as trustee of THE HENRY
 6   AND REGINA GLICKSMAN YARMARK TRUST A; and Does 1-10
 7   (“Defendants”) and alleges as follows:
 8                                          PARTIES
 9         1.     Plaintiff’s musculoskeletal and neurological systems are impaired.
10   These impairments result in weakness, fatigue, pain, and loss of strength in his arms,
11   hands, and legs. He has also developed permanent nerve damage that has caused
12   increased pain and limits his ability to function and limits his mobility, especially for
13   any extended period of time. He is substantially limited in performing one or more
14   major life activities, including but not limited to: walking, standing, ambulating,
15   and/or sitting. Plaintiff’s circulatory and cardiovascular systems are impaired.
16   Specifically, Plaintiff has been diagnosed with Atrial Fibrillation. This substantially
17   limits his ability to walk, stand, ambulate, breath, sit, or otherwise function. As a
18   result of his impairments, he is subject to falls, unsteady on his feet, cannot walk for
19   any significant distance without having to periodically rest, and often relies upon
20   mobility devices to ambulate including a cane, walker, or wheelchair. With such
21   disabilities, Plaintiff qualifies as a member of a protected class under the Americans
22   with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA Amendments
23   Act of 2008 (P.L. 110-325) (“ADA”) and the regulations implementing the ADA set
24   forth at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendants’
25   facility and prior to instituting this action, Plaintiff suffered from a “qualified
26   disability” under the ADA, including those set forth in this paragraph. Plaintiff is
27   also the holder of a Disabled Person Parking Placard.
28         2.     Plaintiff is informed and believes and thereon alleges that Defendants
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                                            COMPLAINT
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 1   STEVEN JOEL SCWARTZ and MELISSA APPELBAUM-SCHWARTZ,
 2   individually and as trustees of the APPELBAUM-SCHWARTZ FAMILY
 3   REVOCABLE TRUST, DATED NOVEMBER 9, 2005; and REGINA
 4   GLICKSMAN YARMARK, individually and as trustee of THE HENRY AND
 5   REGINA GLICKSMAN YARMARK TRUST A, owned the property located at 932
 6   Wilshire Blvd., Santa Monica, CA 90401 (“Property”) on or around November 12,
 7   2020 upon which R Mattress Santa Monica (“Business”) is located.
 8          3.    Plaintiff is informed and believes and thereon alleges that Defendants
 9   STEVEN JOEL SCWARTZ and MELISSA APPELBAUM-SCHWARTZ,
10   individually and as trustees of the APPELBAUM-SCHWARTZ FAMILY
11   REVOCABLE TRUST, DATED NOVEMBER 9, 2005; and REGINA
12   GLICKSMAN YARMARK, individually and as trustee of THE HENRY AND
13   REGINA GLICKSMAN YARMARK TRUST A, currently owns the Property.
14          4.    Plaintiff is informed and believes and thereon alleges that Defendant
15   PETER POCSAJI, an individual, owned, operated, and controlled the Business
16   located at the Property on November 12, 2020.
17          5.    Plaintiff is informed and believes and thereon alleges that Defendant
18   PETER POCSAJI, an individual, owns, operates, and controls the Business located
19   at the Property currently.
20          6.    The Business is a store open to the public, which is a “place of public
21   accommodation” as that term is defined by 42 U.S.C. § 12181(7).
22          7.    Plaintiff does not know the true name of DOE Defendants, that may be
23   related to the Business and/or Property. Plaintiff is informed and believes that each
24   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
25   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
26   the true names, capacities, connections, and responsibilities of the Defendants and
27   Does 1 through 10, inclusive, are ascertained.
28   ////
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                                           COMPLAINT
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 1                               JURISDICTION AND VENUE
 2          8.     This Court has subject matter jurisdiction over this action pursuant
 3   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 4          9.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 5   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 6   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 7   federal ADA claims in that they have the same nucleus of operative facts and
 8   arising out of the same transactions, they form part of the same case or controversy
 9   under Article III of the United States Constitution.
10          10.    Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
11   real property which is the subject of this action is located in this district and because
12   Plaintiff's causes of action arose in this district.
13                                FACTUAL ALLEGATIONS
14          11.    Plaintiff went to the Business on or about November 12, 2020 for the
15   dual purpose of purchasing home goods and to confirm that this public place of
16   accommodation is accessible to persons with disabilities within the meaning federal
17   and state law.
18          12.    Unfortunately, although parking spaces were one of the facilities
19   reserved for patrons, there were no designated parking spaces available for persons
20   with disabilities that complied with the 2010 Americans with Disabilities Act
21   Accessibility Guidelines (“ADAAG”) on November 12, 2020.
22          13.    At that time, instead of having architectural barrier free facilities for
23   patrons with disabilities, Defendants’ facility has barriers that include but are not
24   limited to: an accessible parking area whose slope exceeds ADAAG specifications
25   (Section 502.4); a round door knob that requires tight grasping and turning (Section
26   309.4); a urinal whose clearance does not meet ADAAG specifications; and, a sink
27   that has exposed drain pipes (Section 606.5).
28          14.    Due to architectural barriers in violation of the ADA and ADAAG
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 1   specifications, the parking, paths of travel, and demarcated accessible spaces at the
 2   Property are inaccessible, and the interior of the Business at the Property, are
 3   inaccessible.
 4         15.       Parking spaces are one of the facilities, privileges, and advantages
 5   reserved by Defendants to persons at the Property serving the Business.
 6         16.       Because Defendants STEVEN JOEL SCWARTZ and MELISSA
 7   APPELBAUM-SCHWARTZ, individually and as trustees of the APPELBAUM-
 8   SCHWARTZ FAMILY REVOCABLE TRUST, DATED NOVEMBER 9, 2005;
 9   REGINA GLICKSMAN YARMARK, individually and as trustee of THE HENRY
10   AND REGINA GLICKSMAN YARMARK TRUST A, owns the Property, which is
11   a place of public accommodation, they are responsible for the violations of the ADA
12   that exist in the parking area and accessible routes that connect to the facility’s
13   entrance that serve customers to the Business.
14         17.       Subject to the reservation of rights to assert further violations of law
15   after a site inspection found infra, Plaintiff asserts there are additional ADA
16   violations which affect him personally.
17         18.       Plaintiff is informed and believes and thereon alleges Defendants had
18   no policy or plan in place to make sure that there was compliant accessible parking
19   reserved for persons with disabilities prior to November 12, 2020.
20         19.       Plaintiff is informed and believes and thereon alleges Defendants have
21   no policy or plan in place to make sure that the designated disabled parking for
22   persons with disabilities comport with the ADAAG.
23         20.       Plaintiff personally encountered these barriers. The presence of these
24   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
25   conditions at public place of accommodation and invades legally cognizable
26   interests created under the ADA.
27         21.       The conditions identified supra are necessarily related to Plaintiff’s
28   legally recognized disability in that Plaintiff is substantially limited in the major life
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 1   activities of walking, standing, ambulating, and sitting; Plaintiff is the holder of a
 2   disabled parking placard; and because the enumerated conditions relate to the use of
 3   the accessible parking, relate to the slope and condition of the accessible parking and
 4   accessible path to the accessible entrance, relate to the proximity of the accessible
 5   parking to the accessible entrance, and, relate to the accessible use of the restroom.
 6          22.      As an individual with a mobility disability who at times relies upon a
 7   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 8   accommodations have architectural barriers that impede full accessibility to those
 9   accommodations by individuals with mobility impairments.
10          23.      Plaintiff is being deterred from patronizing the Business and its
11   accommodations on particular occasions, but intends to return to the Business for the
12   dual purpose of availing himself of the goods and services offered to the public and
13   to ensure that the Business ceases evading its responsibilities under federal and state
14   law.
15          24.      Upon being informed that the public place of accommodation has
16   become fully and equally accessible, he will return within 45 days as a “tester” for
17   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
18   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
19          25.      As a result of his difficulty experienced because of the inaccessible
20   condition of the facilities of the Business, Plaintiff was denied full and equal access
21   to the Business and Property.
22          26.      The Defendants have failed to maintain in working and useable
23   conditions those features required to provide ready access to persons with
24   disabilities.
25          27.      The U.S. Department of Justice has emphasized the importance of
26   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
27   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
28   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
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 1   Coronavirus Disease 2019 (COVID-19) found at
 2   https://www.ada.gov/aag_covid_statement.pdf.
 3         28.    The violations identified above are easily removed without much
 4   difficulty or expense. They are the types of barriers identified by the Department of
 5   Justice as presumably readily achievable to remove and, in fact, these barriers are
 6   readily achievable to remove. Moreover, there are numerous alternative
 7   accommodations that could be made to provide a greater level of access if complete
 8   removal were not achievable.
 9         29.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
10   alleges, on information and belief, that there are other violations and barriers in the
11   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
12   notice regarding the scope of this lawsuit, once he conducts a site inspection.
13   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
14   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
15   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
16   have all barriers that relate to his disability removed regardless of whether he
17   personally encountered them).
18         30.    Without injunctive relief, Plaintiff will continue to be unable to fully
19   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
20                               FIRST CAUSE OF ACTION
21   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
22     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
23                                        (P.L. 110-325)
24         31.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
25   above and each and every other paragraph in this Complaint necessary or helpful to
26   state this cause of action as though fully set forth herein.
27         32.    Under the ADA, it is an act of discrimination to fail to ensure that the
28   privileges, advantages, accommodations, facilities, goods, and services of any place
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 1   of public accommodation are offered on a full and equal basis by anyone who owns,
 2   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 3   Discrimination is defined, inter alia, as follows:
 4                a.     A failure to make reasonable modifications in policies, practices,
 5                       or procedures, when such modifications are necessary to afford
 6                       goods, services, facilities, privileges, advantages, or
 7                       accommodations to individuals with disabilities, unless the
 8                       accommodation would work a fundamental alteration of those
 9                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
10                b.     A failure to remove architectural barriers where such removal is
11                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
12                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
13                       Appendix "D".
14                c.     A failure to make alterations in such a manner that, to the
15                       maximum extent feasible, the altered portions of the facility are
16                       readily accessible to and usable by individuals with disabilities,
17                       including individuals who use wheelchairs, or to ensure that, to
18                       the maximum extent feasible, the path of travel to the altered area
19                       and the bathrooms, telephones, and drinking fountains serving
20                       the area, are readily accessible to and usable by individuals with
21                       disabilities. 42 U.S.C. § 12183(a)(2).
22         33.    Any business that provides parking spaces must provide accessible
23   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
24   shall be at the same level as the parking spaces they serve. Changes in level are not
25   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
26   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
27   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
28   designated disabled parking space is a violation of the law and excess slope angle in
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                                           COMPLAINT
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 1   the access pathway is a violation of the law.
 2         34.       A public accommodation must maintain in operable working condition
 3   those features of its facilities and equipment that are required to be readily accessible
 4   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 5         35.       Here, the failure to ensure that accessible facilities were available and
 6   ready to be used by Plaintiff is a violation of law.
 7         36.       Given its location and options, Plaintiff will continue to desire to
 8   patronize the Business but he has been and will continue to be discriminated against
 9   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
10   the barriers.
11                                SECOND CAUSE OF ACTION
12       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
13         37.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
14   above and each and every other paragraph in this Complaint necessary or helpful to
15   state this cause of action as though fully set forth herein.
16         38.       California Civil Code § 51 et seq. guarantees equal access for people
17   with disabilities to the accommodations, advantages, facilities, privileges, and
18   services of all business establishments of any kind whatsoever. Defendants are
19   systematically violating the UCRA, Civil Code § 51 et seq.
20         39.       Because Defendants violate Plaintiff’s rights under the ADA,
21   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
22   52(a).) These violations are ongoing.
23         40.       Plaintiff is informed and believes and thereon alleges that Defendants’
24   actions constitute discrimination against Plaintiff on the basis of a disability, in
25   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
26   previously put on actual or constructive notice that the Business is inaccessible to
27   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
28   inaccessible form, and Defendants have failed to take actions to correct these
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                                              COMPLAINT
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 1   barriers.
 2                                            PRAYER
 3   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 4   follows:
 5         1.     A preliminary and permanent injunction enjoining Defendants from
 6   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
 7   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
 8   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
 9   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
10   under the Disabled Persons Act (Cal. C.C. §54) at all.
11         2.     An award of actual damages and statutory damages of not less than
12   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
13         3.     An additional award of $4,000.00 as deterrence damages for each
14   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
15   LEXIS 150740 (USDC Cal, E.D. 2016); and,
16         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
17   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
18                                DEMAND FOR JURY TRIAL
19         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
20   raised in this Complaint.
21

22   Dated: January 29, 2021                   MANNING LAW, APC
23

24                                     By: /s/ Joseph R. Manning Jr., Esq.
                                          Joseph R. Manning Jr., Esq.
25                                        Attorney for Plaintiff
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                                              COMPLAINT
